Case 3:12-cv-00906-MMA-BLM Document 34 Filed 12/27/12 PageID.139 Page 1 of 1



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  8                            UNITED STATES DISTRICT COURT
  9                        SOUTHERN DISTRICT OF CALIFORNIA
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 11    DREW HILL,                                              CASE NO. 12-CV-906-MMA(BLM)
 12                                        Plaintiff,          ORDER GRANTING JOINT
              vs.                                              MOTION TO DISMISS
 13
       MACY’S, INC., et al.,                                   [Doc. No. 33]
 14
                                  Defendants.
 15    ____________________________________
 16       AND COUNTERCLAIMS.
 17
 18          The Court GRANTS the parties’ joint motion to dismiss and accordingly DISMISSES
 19   with prejudice the Complaint against Macy’s, Inc.; Macy’s Credit and Customer Services, Inc.;
 20   and Department Stores National Bank. All counterclaims against Plaintiff are likewise
 21   DISMISSED with prejudice. The Clerk of Court shall terminate the case.
 22   IT IS SO ORDERED.
 23   DATED: December 27, 2012
 24
                                                    Hon. Michael M. Anello
 25                                                 United States District Judge
 26
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